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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                            )
VIDEOSHARE, LLC,                                            )
                                                            )
                 Plaintiff,                                 )
                                                            )
        v.                                                  )        Civil Action No. 13-cv-990 (GMS)
                                                            )
GOOGLE, INC. and YOUTUBE, LLC,                              )
                                                            )
                Defendants.                                 )




                                            MEMORANDUM

I.      INTRODUCTION

        On June 4, 2013, Plaintiff VideoShare, LLC ("VideoShare") initiated this patent

infringement lawsuit against Google, Inc. and YouTube, LLC (collectively "Google"), alleging

infringement of U.S. Patent No. 8,438,608 ("the '608 patent"). VideoShare amended its complaint

on June 26, 2013, to also allege infringement of U.S. Patent No. 8,464,302 ("the '302 patent").

Presently before the court is Google's Motion for Judgment on the Pleadings pursuant to Federal

Rule of Civil Procedure 12(c). (D.I. 84.) Google argues that the '608 and '302 patents are invalid

under 35 U.S.C. § 101 for claiming patent-ineligible subject matter. For the reasons discussed

below, the court will grant Google's Motion.

II.     BACKGROUND

        The '608 patent describes a method and system for sharing streaming video over a network.

Claim 1 is representative: 1


1
  System claim 14 of the '608 patent merely recites general computer components for performing the same method
steps recited in claim I.
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                1. A method of streaming a video to users over a network, the
                      method comprising the steps of:
                receiving, by a receiving computer via a web page, a video file sent
                      by a ~ser on a second computer on a network;
                executing, by the receiving computer, in response to receiving the
                      video file, an automated function automatically performing
                      each of:
                (b 1) converting the video file into a streaming video file comprising
                      a streaming video format, the video file being converted
                      independent from receiving a command to perform such
                      conversion from the user;
                (b2) generating an identification tag comprising a video frame
                      image representing a subject matter of the streaming video file
                      and identifying the streaming video file; and
                (b3) embedding the identification tag comprising the video frame
                      image into a web page for serving the streaming video file to
                      one or more users on one or more computers on the network.

'608 patent, claim 1.

        The '302 patent similarly describes a method and system for sharing streaming video over

a network, but additionally requires an associated advertisement. Claim 1 is representative: 2

                 1. A method of sharing a streaming video and associated
                    advertisement over a network, comprising:
                 executing, by a first computer:
                    receiving an advertisement;
                    storing the advertisement;
                    receiving a video file;
                    converting the video file into a streaming video file comprising
                        a streaming video format, independent from receiving a
                        command to perform such conversion;
                    storing the streaming video file to a storage device; generating
                        an identification tag identifying the stored streaming video
                        file;
                    associating the streaming video file with the advertisement;
                    embedding the identification tag into a web page accessible to a
                        plurality of users on the network;
                    receiving, via a web page, a request to transmit the streaming
                        video file; and




2
  System claim 14 of the '302 patent merely recites general computer components for performing the same method
steps recited in claim 1.


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                    transmitting, via a web page, the streaming video file and the
                        advertisement to a second computer on the network.

'302 patent, claim 1.

         Google argues that the '608 and '302 patents are invalid for claiming "the patent-ineligible

abstract idea of translating (converting) content and sharing the translated content (such as video

segments), with or without accompanying advertisements."           (D.I. 85 at 1.)   Google further

contends that there is no "inventive concept" under Alice step two because the patent claims "do

nothing more than apply the abstract idea using conventional computers and Internet operations."

(Id. at 2.)

III.    LEGAL STANDARD

        Pursuant to Federal Rule of Civil Procedure 12(c), a party may move for judgment on the

pleadings "[a]fter pleadings are closed-but early enough not to delay trial." When evaluating a

motion for judgment on the pleadings, the court must accept all factual allegations in a complaint

as true and view them in the light most favorable to the non-moving party. See Rosenau v. Unifund

Corp., 539 F.3d 218, ·221 (3d Cir. 2008); see also Maio v. Aetna, Inc., 221 F.3d 472, 482 (3d Cir.

2000). A Rule 12(c) motion will not be granted "unless the movant clearly establishes that no

material issue of fact remains to be resolved and that he is entitled to judgment as a matter oflaw."

Rosenau, 539 F.3d at 221. This is the same standard as a Rule 12(b)(6) motion to dismiss. See

Revellv. PortAuth., 598F.3d128, 134 (3d Cir. 2010). "The purpose of judgment on the pleadings

is to dispose of claims where the material facts are undisputed and judgment can be entered on the

competing pleadings and exhibits thereto, and documents incorporated by reference." Venetec

Int'!, Inc. v. Nexus Med., LLC, 541 F. Supp. 2d 612, 617 (D. Del. 2008); see also In re Burlington

Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (explaining that any documents

integral to pleadings may be considered in connection with Rule 12(c) motion). Moreover,



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disposal of patent infringement cases based on the pleadings alone has been repeatedly sanctioned

by the Federal Circuit when "claims are plainly directed to a patent-ineligible abstract idea." See

OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1364 (Fed. Cir. 2015) (Mayer, J.,

concurring).

       Section 101 describes the general categories of patentable subject matter: "Whoever

invents or discovers any new and useful process, machine, manufacture, or composition of matter,

or any new and useful improvement thereof, may obtain a patent therefor, subject to the conditions

and requirements of this title." 35 U.S.C. § 101. These broad classifications are limited, however,

by exceptions. "Laws of nature, natural phenomena, and abstract ideas are not patentable." Alice

Corp. v. CLS Bank Int'l, 134 S. Ct. 2347, 2354 (2014) (quoting Ass 'nfor Molecular Pathology v.

Myriad Genetics, Inc., 133 S. Ct. 2107, 2216 (2013)). Courts have eschewed bright line        ru~es


circumscribing the contours of these exceptions. See id. ("[W]e tread carefully in construing this

exclusionary principle lest it swallow all of patent law. At some level, all inventions ... embody,

use, reflect, rest upon, or apply laws of nature, natural phenomena, or abstract ideas.") (internal

citation and quotations marks omitted). The Supreme Court's decision in Alice reaffirmed the

framework first outlined in Mayo Collaborative Services v. Prometheus Laboratories, Inc.,

132 S. Ct. 1289 (2012), used to "distinguish[] patents that claim laws of nature, natural

phenomena, and abstract ideas from those that claim patent-eligible applications of those

concepts." See Alice, 134 S. Ct. at 2355.

               First, we determine whether the claims at issue are directed to one
               of those patent-ineligible concepts. If so, we then ask, wha,t else is
               there in the claims before us? To answer that question, we consider
               the elements of each claim both individually and as an ordered
               combination to determine whether the additional elements transform
               the nature of the claim into a patent-eligible application. We have
               described step two of this analysis as a search for an "inventive
               concept"-i. e., an element or combination of elements that is



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                 sufficient to ensure that the patent in practice amounts to
                 significantly more than a patent upon the ineligible concept itself.

Id. (internal citations, quotations marks, and alterations omitted). "[A]n invention is not rendered

ineligible for patent simply because it involves an abstract concept." Alice, 134 S. Ct. at 2354.

Thus, the court must determine (1) if the patented technology is directed to ineligible subject

matter, and, if so, (2) whether there are sufficient inventive elements such that the invention is

'"significantly more' than a patent on an ineligible concept."                 See DDR Holdings, LLC v.

Hotels.com, L.P., 773 F.3d 1245, 1255 (Fed. Cir. 2014) (quoting Alice, 134 S. Ct. at 2355); see

also Intellectual Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363, 1366 (Fed. Cir.

2015); OIP Techs., 788 F.3d at 1362.

IV.     DISCUSSION

        Judgment on the pleadings is proper because no material issue of fact remains to be

resolved and Google is entitled to judgment as a matter oflaw. 3 VideoShare does not argue that

issues of material fact remain, that the court would benefit from expert testimony, or that judgment

on the pleadings at this stage is not procedurally proper.                Moreover, applying the two-step

framework outlined in Alice, the court is persuaded by clear and convincing evidence that the '608

and '302 patents are invalid under 35 U.S.C. § 101 for claiming an abstract idea without reciting

additional limitations that amount to something "significantly more" than the abstract concept

itself. See Alice, 134 S. Ct. at 2355.

        1. Step 1: Abstract Idea

        The first step of the § 101 analysis requires determining whether the claims are "directed

to" an abstract idea. DDR Holdings, 773 F.3d at 1255. "The 'abstract ideas' category embodies



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 The court addresses Google's motion with caution, cognizant of the gravity of dismissing a complex case at an
early stage oflitigation.


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the longstanding rule that an idea of itself is not patentable." Alice, 134 S. Ct. at 2355 (internal

quotation marks omitted) (quoting Gottschalk v. Benson, 409 U.S. 63, 67 (1972)). Although the

Supreme Court has not "delimit[ed] the precise contours of the 'abstract ideas' category," Alice,

132 S. Ct. at 2357, several decisions by the Supreme Court, reaffirmed in Alice, have provided

some guidance on patent-ineligible subject matter, id. at 2355-56. For example, the Supreme

Court has confirmed that without an inventive concept, claims covering algorithms, mathematical

formulas, and fundamental economic practices are patent-ineligible. See Benson, 409 U.S. at 71-

72 (finding patent-ineligible claims involving an algorithm for converting binary-coded decimal

numerals into pure binary that "in practical effect would be a patent on the algorithm itself');

Parker v. Flook, 437 U.S. 584, 594-95 (1978) (finding patent-ineligible a mathematical formula

for computing an alarm limit in a   ch~mical   process); Bilski v. Kappas, 561 U.S. 593, 611 (2010)

(finding patent-ineligible the concept of hedging, which is a "fundamental economic practice long

prevalent in our system of commerce"); Alice, 134 S. Ct. at 2356 (finding patent-ineligible the

concept of intermediated settlement that is a "longstanding commercial, practice" and "a method

of organizing human activity").

       The Federal Circuit recently emphasized that the "directed to" inquiry is a "meaningful

one" that must go beyond "simply ask[ing] whether the claims involve a patent-ineligible concept."

Enfish, LLC v. Microsoft Corp., 822 F.3d 1327, 1335 (Fed. Cir. 2016). In particular, the Federal

Circuit clarified that computer-related inventions are not inherently abstract, and therefore such

technologies are not necessarily analyzed only at the second step of the Alice framework. Id. at

1335-36. The Federal Circuit acknowledged, however, that "[i]dentifying the precise nature of

the abstract idea is not ... straightforward." DDR Holdings, 773 F.3d at 1257. Enfish warns

against "describing the claims at such a high level of abstraction and untethered from the language




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of the claims" that "all but ensures that the exceptions to § 101 swallow the rule." Enjish, 822

F.3d at 1337.

       Once it is determined what the claims are "directed to," the next inquiry is whether the

claims are directed to an abstract idea. Although there are no bright-line rules regarding whether

a particular idea is to be considered abstract as a matter oflaw, case law illustrates some common

themes. For example, the Supreme Court and Federal Circuit have found abstract ideas embodied

by claims directed to longstanding economic practices, abstractions having no tangible form, and

functions humans have always performed. See Bils/d, 561 U.S. at 611 (finding claims directed to

"hedging" to be drawn to an abstract idea because it is a "fundamental economic practice long

prevalent in our system of commerce"); Alice, 134 S. Ct. at 2356 (finding claims directed to

"intermeqiated settlement" to be drawn to an abstract idea because it is a "longstanding commercial
                      '                                                  .
practice" and "a method of organizing human activity," similar to Bilski); Ultramercial, Inc. v.

Hulu, LLC, 772 F.3d 709, 715 (Fed. Cir. 2014) (finding claims directed to "showing an

advertisement before delivering free content" to be drawn to an abstract idea because it is "an

abstraction-an idea, having no particular concrete or tangible form"); Content Extraction &

TransmissionLLCv. Wells Fargo Bank, Nat. Ass'n, 776 F.3d 1343, 1347 (Fed. Cir. 2014) (finding

claims directed to "1) collecting data, 2) recognizing certain data within the collected data set, and

3) storing that recognized data in a memory" to be drawn to an abstract idea because such functions

are "undisputedly well-known" and "humans have always performed these functions"); buySAFE,

Inc. v. Google, Inc., 765 F.3d 1350, 1355 (Fed. Cir. 2014) (finding claims directed to a "transaction

performance guaranty" to be drawn to an abstract idea because it is a concept "that is beyond

question of ancient lineage"); Mortgage Grader, Inc. v. First Choice Loan Servs. Inc., 811 F.3d

1314, 1324 (Fed. Cir. 2016) (finding claims directed to "anonymous loan shopping" to be drawn




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to an abstract idea because it "could all be performed by humans without a computer"); and Versata

Dev. Grp., Inc. v. SAP Am., Inc., 793 F.3d 1306, 1333 (Fed. Cir. 2015) (noting claims directed to

"a method of verifying the validity of credit card transactions over the Internet" were patent-

ineligible because the method steps could be performed "in the human mind or by a human using

a pen and paper") (citing CyberSource Corp. v. Retail Decisions, Inc., 654 F.3d 1366 (Fed. Cir.

2011)).

          In computer-related technologies, the Federal Circuit recently clarified that a relevant

question to ask even at the first step of the Alice analysis is "whether the focus of the claims is on

the specific asserted improvement in computer capabilities . . . or, instead, on a process that

qualifies as an 'abstract idea' for which computers are invoked merely as a tool." En.fish, 822 F.3d

at 1335-36. Such claims directed to an improvement in computer functionality can be contrasted

with those that (1) "simply add[] conventional computer components to well-known business

practices; (2) "use ... an abstract mathematical formula on any general purpose computer;" (3)

recite "a purely conventional computer implementation of a mathematical formula;" or (4) recite

"generalized steps to be performed on a computer using conventional computer activity." In re

TL! Commc'ns LLC Patent Litig., 823 F.3d 607, 612 (Fed. Cir. 2016) (citing En.fish, 822 F.3d at

1338) (collecting cases).

          Against this backdrop, the court turns to the present action and Google's Motion for

Judgment on the Pleadings. Google argues that the claims of the '608 and '302 patents are directed

to the abstract idea of "translating ... content and sharing the translated content ... with or without

advertisements." (D.I. 85 at 1.) Google all<;:ges this concept "has been practiced in various forms

throughout history," including translating books into different languages and sharing the translated

books, translating video from a film real into a format for distribution (e.g., VHS or DVD) and




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distributing the translated video, and the process whereby America's Funniest Home Videos

translates VHS video tapes received from the public, translates them into a format for broadcast,

and then broadcasts the translated video. (Id. at 5-9.)

       In response, VideoShare derides Google's "directed to" formulation for omitting "core

claimed features," resulting in a "fail[ure] to capture what the claims are directed to." (D.I. 107 at

1.) VideoShare alleges that the claims "are actually directed to systems and methods of sharing

video over a computer network by automatically, upon receipt, converting video files to streaming

video format and serving them via a webpage with identifying thumbnails generated from the

video frame images." (Id.)

       The court rejects both parties' formulations. On the one hand, Google's proposal risks

running afoul of Enfish' s warning against "describing the claims at such a high level of abstraction

[so as to be] untethered from the language of the claims." See Enfish, 822 F.3d at 1337. On the

other hand, VideoShare's formulation is loaded with nearly every step or feature recited in the

claims, thereby defeating the distillative purpose of the "directed to" inquiry. The court finds both

the '608 and '302 patent claims are directed to preparing a video in streaming video format for

sharing over a computer network. This formulation remains tethered to the claim language, while

at the same time distilling the thrust of the claims to a basic concept consistent with the

formulations adopted in Supreme Court and Federal Circuit decisions. See, e.g., Alice, 134 S. Ct.

at 2356 (finding the claims directed to "intermediated settlement"); Ultramercial, 772 F.3d at 715

(finding the claims directed to "showing an advertisement before delivering free content");

Content Extraction, 776 F.3d at 1347 (finding the claims directed to "1) collecting data, 2)

recognizing certain data within the collected data set, and 3) storing that recognized data in a

memory," or more simply, "[t]he concept of data collection, recognition, and storage"); In re TLI




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Commc'ns, 823 F.3d at 611 (finding the claims directed to "classifying and storing digital images

in an organized manner"). The court's conclusion also finds basis in the '608 and '302 patent

specifications, which disclose that the invention "relates to sharing video in streaming video format

over a network .... " '608 patent at 1:20-21 and '302 patent at 1:18-19. Consideration of

additional limitations provided by the claims is properly deferred to the second step of the Alice

analysis.

       Next, the court examines whether these claims are directed to an abstract idea. The court

finds instructive the analysis of TL! Communications, in which the Federal Circuit found the

asserted claims were directed to an abstract idea. 823 F.3d at 609. Representative claim 17 is set

forth below:

               17. A method for recording and administering digita~ images,
                   comprising the steps of:
               recording images using a digital pick up unit in a telephone unit,
               storing the images recorded by the digital pick up unit in a digital
                   form as digital images,
               transmitting data including at least the digital images and
                   classification information to a server, wherein said classification
                   information is prescribable by a user of the telephone unit for
                   allocation to the digital images,
               receiving the data by the server,
               extracting classification information which characterizes the digital
                   images from the received data, and
               storing the digital images in the server, said step of storing taking
                   into consideration the classification information.

U.S. Patent No. 6,038,295 ("the '295 patent") at 10:1-17. The Federal Circuit found claim 17 to

be directed to "the abstract idea of classifying and storing digital images in an organized manner."

In re TL! Commc'ns, 823 F.3d at 611. The Federal Circuit observed that although the claims recite

some tangible components, such as a "telephone unit" and a "server," the patent specification

revealed that such components "merely provide a generic environment in which to carry out the

abstract idea." Id. The Federal Circuit also determined that the claims are "not directed to a



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specific improvement to computer functionality," but rather "are directed to the use of

conventional or generic technology in a nascent but well-known environment, without any claim

that the invention reflects an inventive solution to any problem presented by combining the two."

Id. at 612.

        In expounding on this lack of an improvement to computer functionality, the Federal

Circuit noted that the inventor was not faced with the problems of combining a camera and a

cellular telephone, transmitting images via a cellular network, or associating the images with

classification information.   Id.   Rather, "the inventor sought to 'provid[ e] for recording,

administration and archiving of digital images simply, fast and in such way that the information

therefore may be easily tracked."' Id. (quoting '295 patent at 1:62-65). The Federal Circuit further

noted that the telephone, server, and other ta!lgible components were not new and were described

in the specification predominately in functional terms. Id.

        Here, just as in TLI Communications, the claims are directed to an abstract idea because

the claims are not directed to an improvement in computer functionality, and the physical

components of the claim merely provide a generic environment for carrying out the abstract idea.

In determining whether an improvement in computer functionality exists, it is useful to consider

the problems solved by the claimed invention. VideoShare argues that the claims address three

problems with how conventional video files are transferred over computer networks: 1) although

conventional methods to transfer such files required transmitting the entire file before it could be

viewed, the present claims require conversion upon receipt to a format (i.e., streaming video

format) that does not require complete transmission before viewing; 2) the claims address

problems associated with using an alphanumeric string to identify a video by instead generating




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and embedding a thumbnail; and 3) the claims overcome the burden of manually posting a link

associated with a video to a web page by automating this process. (D.I. 107 at 13-14.)

        The court is not persuaded that the claimed invention results in an improvement to

computer functionality. VideoShare did not invent the technology that converts video files into

streaming format. For example, the '608 patent discloses that proprietary VideoShare Producer

software can be used to carry out the claimed invention, but this software is "built upon ... third-

party technologies that provide ... file format conversion," including various Microsoft products.

'608 patent at 19:38-43. The file format conversion is disclosed to be "generally algorithmic in

nature." Id. at 14:42-46. Other than these generic disclosures, the specification does not disclose

any specific algorithms or specific software code that carries out the file format conversion, nor

do the claims r~cite the Video Share software as part of the invention. Similarly, Video Share did

not invent thumbnails, the extraction of such thumbnails from video files, or the embedding of

thumbnails. VideoShare admits this, and argues in response that "the inventive aspect of [the

identification tag] limitations is not creating a thumbnail or adding a link to a webpage but rather

using a webpage· that includes identifying thumbnails to serve video files over a network." (D.I.

107 at 18.) But "the prohibition against patenting abstract ideas cannot be circumvented by

attempting to limit the use of the idea to a particular technological environment." Alice, 134 S. Ct.

at 2358 (internal quotations and alterations omitted). See also Ultramercial, 772 F.3d at 716 ("As

we have held, the use of the Internet is not sufficient to save otherwise abstract claims from

ineligibility under§ 101"). Moreover, VideoShare was not confronted with the problem of how

to combine conversion technology and the Internet, or how to associate identification tags with

video files.




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           At most, the claims merely automate a sequence of known steps using conventional

technology so that a human is not burdened with various manual steps (D.I. 107 at 13-14),

including (a) manually using a general purpose computer to convert a video file into streaming

video format, (b) manually selecting a thumbnail image from the video file using a general purpose

computer, and (c) manually embedding the selected thumbnail image in a web page using a general

purpose computer. Indeed, the United States Patent Examiner allowed both the '608 and '302

patents because they recited such automation. See '608 patent, November 27, 2012 Office Action

at 3-4 (noting a related patent "was allowed on the basis of claiming an automated system which

would convert an uploaded file directly into a streaming format independent of any command to

do so, which is a feature similarly claimed in the instant application"); '302 patent, March 21, 2013

Office Action at 4 ("The claims have been amended to recite a video distribution system with

automated conversion to streaming format as similarly recited in the above allowed applications .

. . .").
           The ordered arrangement of such conventional features provides no discemable benefits to

computer functionality. This stands in stark contrast to claims which achieved such improvements

to computing technology. See Enfish, 822 F.3d at 1337 (finding increased flexibility, faster search

times, and smaller memory requirements resulting from the claimed self-referential table); Bascom

Glob. Internet Servs., Inc. v. AT&T Mobility LLC, No. 2015-1763, 2016 WL 3514158, at *7 (Fed.

Cir. June 27, 2016) (finding the claimed arrangement for filtering content over the internet to be a

technological improvement over prior art filters that were inflexible, susceptible to hacking, and

dependent on local computer resources). Additionally, the physical components in the claims,

such as the receiving computer, first computer, and web page, merely provide a generic




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environment for carrying out the abstract idea of preparing a video in streaming video format for

sharing over a computer network.

       The court also notes strong parallels between the language of the claims asserted here and

the patent-ineligible claims in TLI Communications.            For example, the claims in TLI

Communications recite, among other things, receiving digital images via a server, "extracting

classification information which characterizes the digital images," and "storing the digital images

in the server" with the classification information taken into consideration. See '295 patent, claim

17. These steps are strikingly similar to certain steps of claim 1 of both the '608 and '302 patents,

which recite, among other things, receiving a video file via a computer, generating an identification

tag that identifies the video, and embedding the identification tag into a web page.             The

"identification tag" of the instant claims is quite similar to the "classification information which

characterizes the digital images."     See '295 patent, claim 17.       Notably, the court in TLI

Communications stated that "attaching classification data, such as dates and times, to images for

the purpose of storing those images in an organized manner is well-established 'basic concept'

sufficient to fall under Alice step l." In re TLI Commc 'ns, 823 F.3d at 613. In the same way,

attaching an identification tag, such as a video frame image, for the purpose of identifying the

stored streaming video file is also a basic concept.

       The court also notes similarities to Internet Patents Corp. v. Active Network, Inc., 790 F.3d

1343 (Fed. Cir. 2015). In Internet Patents, the Federal Circuit found the claims were directed to

the abstract idea of "retaining information in the navigation of online forms" because many of the

claim limitations were disclosed in the specification to be "conventional" and the claims failed to

recite a restriction on how the result was accomplished. Id. at 1348. The claims of the '608 and

'302 patents similarly recite conventional features without a restriction on how the result is




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accomplished.       For example, claim 1 of both the '608 and '302 patents generically recite

"converting the video file into a streaming video file," "generating an identification tag," and

"embedding the identification tag ... into a web page." But claim 1 of each patent does not specify

how these tasks are completed, but rather merely specifies what is to happen. In looking to the

specification to determine the "how," it is apparent that conventional computers are all that is

needed to carry out the various steps, without any improved functionality resulting from the

arrangement of such conventional computers or their functions. See, e.g., '608 patent at 15:41-64

(disclosing the second computer to include "a personal computer of conventional type such as a

desktop or laptop computer, a hand held device such as a PDA, or a more powerful computer such

as a workstation, a server, a mini-computer, a mainframe, or the like").

         In view of the foregoing reasons, the court concludes the claims of t~e '608 and '302

patents are directed to an abstract idea- the abstract idea of preparing a video in streaming video

format for sharing over a computer network. 4 The court proceeds to step two of the Alice inquiry.

         2. Inventive Concept

         Not all patents directed to abstract ideas are patent ineligible under § ·101. Therefore,

although the '608 and '302 patents recite an abstract idea, they will not be found invalid ifthere is

evidence of an inventive concept or contribution: "an element or combination .of elements that is

sufficient to ensure that the patent in practice amounts to significantly more than a patent upon the

ineligible concept itself." See Alice, 134 S. Ct. at 2355. But drawing a line between patent-eligible

and patent-ineligible manifestations of abstract ideas is often difficult.                    See DDR Holdings,



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 In some cases, "there may be close calls about how to characterize what the claims are directed to." Enfish, 822
F.3d at 1339. See also Bascom, 2016 WL 3514158, at *5 (finding the case before it to be one of these "close calls").
In such cases, when "the claims and their specific limitations do not readily lend themselves to a step-one finding
that they are directed to a nonabstract idea, ... consideration of the specific claim limitations' narrowing effect [may
be deferred to] step two." Id. Even if the present case represents one of those "close calls," the court properly
continues to step two of Alice.


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773 F.3d at 1255. The recitation of"well-understood, routine, conventional activities," previously

known to the industry, however, is insufficient to "transform the claimed abstract idea into a

patent-eligible application." OIP Techs., 788 F.3d at 1363 (internal alteration and quotation marks

omitted) (quoting Alice, 134 S. Ct. at 2359).    In determining whether the claims possess an

inventive concept, the elements of a claim must be considered both individually and as an ordered

combination. Alice, 134 S. Ct. at 2355.

       Google contends that the claims do not possess an inventive concept because the claims

merely implement an abstract idea using generic computing technology to "perform well-known,

routine, and conventional activities." See Content Extraction, 776 F.3d at 1348. Google walks

through the conventional nature of the various individual features of the claims-including the

recited computer functions, Internet      function~,   conversion to streaming video format,

generation/embedding of the identification tag, and association of an advertisement-supporting

its argument with the specifications and case law. (D.I. 85 at 11-17.) Google also contends that

the ordered combination of these features is not inventive because "the components of each claim

add nothing that is not already present when the steps are considered separately." (Id. at 17-18)

(citing Versata, 793 F.3d at 1334).

       VideoShare responds by contending that Google has failed to meet its burden to prove that

the additional features recited in the claim are more than well-understood, routine, and

conventional activity. (D.I. 107 at 15.) Rather than demonstrating why the claim limitations are

not well-understood, routine, and conventional, VideoShare merely makes conclusory statements

to this effect without explanation. (Id. at 16.) Citing DDR Holdings, VideoShare argues that the

claims are patent-eligible because the claims are "necessarily rooted in computer technology in

order to overcome a problem specifically arising in the realm of computer networks" and the




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 claims "solve technological problems by overriding the routine and conventional uses of computer

 technology." (D.I. 107 at 12-13 (internal quotation marks omitted).) Specifically, VideoShare

 argues that the claims solve problems created by using technology in its routine and expected

 manner. (Id. at 12-13 .) In this regard, routine methods of sharing video required transmitting files

 completely before the file could be accessed, using alphanumeric strings that are not "readily

 recognizable" to identify files posted on a web page, and posting a file on a web page by manually

 generating a link to it and manually adding the link to a web page. (Id. at 13.) VideoShare submits

 that such routine and conventional methods were "overridden" by the claimed method of automatic

 conversion and processing of a file upon receipt to streaming video format with an associated

 thumbnail image. (Id. at 13-14.)

        The court agrees with Google that the limitations of the claims of the '608 and '302 patents,

 when considered both individually and as an ordered combination, do not contain an inventive

 concept and thus fail to transform the abstract idea into patent eligible subject matter.

 Significantly, as already discussed, the claims do not result in an improvement in computer

 functionality. Moreover, the claims merely recite conventional computer components or functions

 that involve the use of a computer network, such as the Internet. For example, the claims recite a

 "receiving   computer,"    "second    computer,"     "converting,"   "generating,''   "embedding,''

 "transmitting," "network," "web page," and "storage device." The specification discloses the

 "receiving computer" to have the capabilities of "receiving the transmission of a video file ...

 [via] e-mail, HTML message, Web page format, or FTP upload, ... extracting from the received

 message the video and all information sent with the video, ... determining whether the video is

 already in a format compatible with streaming video, . . . storing a copy of the video in video

 format in an archival machine-readable storage, ... recording in a database ... the identification




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tag and the storage location [of the video], ... and serving the video instreaming video format."

'608 patent at 9:50-10:51. The "second computer," which is the computer on which a user can

submit a video and access a streaming video, can include "a personal computer of conventional

type such as a desktop or laptop computer, a hand held device such as a PDA, or a more powerful

computer such as a workstation, a server, a mini-computer, a mainframe, or the like." Id. at 15:41-

64. The network can be the Internet. Id. at 1:58.

       All of the aforementioned computers, capabilities, and functions are well-understood,

routine, and conventional activities, and the claims fail to recite any features that go beyond such

conventional activities. See In re TL! Commc 'ns, 823 F.3d at 613 (examining the specification for

meaning of claim terms such as "telephone unit," "server," "image analysis unit," and "control

unit," and concluding that all of the components "behave exactly as expected according to their

ordinary use."). For example, at the time of the invention, general purpose computers regularly

received transmissions, extracted information from messages, determined file formats, stored files

in memory, and provided files to be accessed over a network. Additionally, considering the

individual features of the claim as an ordered combination does nothing to provide an inventive

concept. See Versata, 793 F.3d at 1334 ("[T]he components of each claim add nothing that is not

already present when the steps are considered separate Iy. ").

       The claims here specify only conventional steps at a high level of generality, and the

association of an advertisement is not sufficient to provide an inventive concept. See Ultramercial,

772 F.3d at 715 (finding no inventive concept in an eleven step method, which included a step of

"selecting a sponsor message to be associated with the media product," because the claimed

method "comprise[ed] only conventional steps specified at a high level of generality.") (internal

quotations omitted). Furthermore, limiting the claims to a particular technological environment,




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such as computer networks or a web page, does not provide an inventive concept. See Internet

Patents, 790 F.3d at 1348-49 ("siting the ineligible concept in a particular technological

environment" was not sufficient to provide an inventive concept); Content Extraction, 776 F.3d at

1348 ("At most ... [the] claims attempt to limit the abstract idea of recognizing and storing

information from hard copy documents using a scanner and a computer to a particular

technological environment ... [which] has been held insufficient to save a claim in this context").

Additionally, as discussed above, the claims merely automate what a person could do manually

with a general purpose computer. But automation also cannot save the claims from patent-

ineligibility. See OIP Techs., 788 F.3d at 1363 ("At best, the claims describe the automation of

the fundamental economic concept of offer-based price optimization through the use of generic-

computer functions .... But relying on a computer to perform routine tasks more quickly or more

accurately is insufficient to render a claim patent eligible.").

       Notwithstanding VideoShare's arguments to the contrary, the claims of the '608 and '302

patents are also distinguishable from DDR Holdings. The invention inDDR Holdings "address[ed]

the problem ofretaining website visitors that, if adhering to the routine, conventional functioning

of Internet hyperlink protocol, would be instantly transported away from a host's website after

'clicking' on [a third-party's] advertisement ...." 773 F.3d at 1257. When clicking on this

advertisement, instead of transporting the user to a third party webpage, the patent claims instead

called for directing the user to an "automatically-generated hybrid webpage that combines visual

'look and feel' elements from the host website and product information from the third-party

webpage." Id. The claims were "necessarily rooted in computer technology" and specified "how

interactions with the Internet are manipulated to yield a desired result ... that overrides the routine

and conventional sequence of events ordinarily triggered by the click of a hyperlink." Id at 1258.




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In contrast, as Google notes, the instant claims "merely use conventional computer and Internet

functions to implement the abstract idea," rather than "address[ing] any Internet-centric technical

challenge." (D.1. 85 at 18-19.) The instant claims require a series of conventional steps that could

be done on a general purpose computer by a human to instead be done in an automated fashion on

a receiving computer via the Internet. In this regard, manually following the claimed conventional

steps does not lead to an unconventional result, and, as discussed above, automation of these

conventional steps does not save the patents from ineligibility. In this way, unlike DDR Holdings,

the instant claims do nothing more than conform to the routine and conventional.

       None of the dependent claims in either the '608 or '302 patents adds anything that would

free those claims from the domain of abstraction.       Specifically, the dependent claims recite

additional conventional features, such as "upload form," "wireless networking c_onnection,"

"URL," and "plurality of computing devices," that do not render the claims non-abstract when

considered alone or as an ordered combination. VideoShare makes no attempt to identify any

inventive concepts in the dependent claims. (D.I. 107 at 18-19.)

V.     CONCLUSION

       The court concludes that the asserted claims of the '608 and '302 patents are not eligible

for patent protection under 35 U.S.C. § 101. The court will grant Google's Motion for Judgment

on the Pleadings. (D.I. 84.)




Dated: August l,__, 2016




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